                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                          CASE NO. 3:24-CV-175-MOC-DCK

 ARNOLD & SMITH, PLLC,                           )
                                                 )
                 Plaintiff,                      )                 ORDER
                                                 )
     v.                                          )
                                                 )
 ARNOLD & SMITH LAW, PLLC,                       )
                                                 )
                 Defendant.                      )
                                                 )



          THIS MATTER IS BEFORE THE COURT on the parties’ “Joint Motion For

Designation Of Mediator” (Document No. 21) filed December 4, 2024. This motion has been

referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate

review is appropriate. Having carefully considered the motion and the record, the undersigned

will grant the motion.

          IT IS, THEREFORE, ORDERED that the parties’ “Joint Motion For Designation Of

Mediator” (Document No. 21) is GRANTED. Rodrick J. Enns, Esq. is designated as the parties’

Mediator in this action.

          SO ORDERED.

                               Signed: December 4, 2024




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